Case 2:05-cr-20177-SH|\/| Document 105 Filed 07/11/05 Page 1 01°3 Page|D 105

IN THE UNITED sTATEs DIsTRlCT CoURT ""~E° BY 142 fm
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIVISIoN 05 JUL | l PH h= 08
UNITED sTATEs oF AMERICA, ) ' m M-
) a%‘é§'msm”
Plaintirr, ) m MEMS
)
v. ) No. 05-20177 Ma
)
TAVARIS BooTHE, )
' )
Defendant. )

 

ORDER APPOINTING COUNSEL

 

Before the Court is United States District Judge Samuel H. Mays’s request that the
Magistrate Judge appoint counsel for Defendant Tavaris Boothe. On June 27, 2005, Judge Mays
entered an Order allowing Defendant’s counsel Ms. Parnela Hamrin to Withdraw as counsel of
record. As such, the Court now finds that Defendant is entitled to new counsel to assist him.
Therefore, the Clerlc is directed to appoint an attorney from the CJA Panel to act as counsel of
record for Mr. Boothe. The Clerk shall also forward a copy of this Order to Mr. Boothe’s last

known address with the Bureau of Prisons.

IT IS SO ORDERED.
CS. l horn/w @_)

S. THOMAS ANDERS ON
UNITED STATES MAGISTRATE JUDGE

Date: §§|L QE ZOo$

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Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:05-CR-20177 was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

